

Matter of Shin (2021 NY Slip Op 05008)





Matter of Shin


2021 NY Slip Op 05008


Decided on September 16, 2021


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:September 16, 2021

PM-122-21
[*1]In the Matter of Hwa Young Shin, Also Known as Hwa Young Shin Lumley, an Attorney. (Attorney Registration No. 4513918.)

Calendar Date:September 13, 2021

Before:Garry, P.J., Egan Jr., Clark, Pritzker and Reynolds Fitzgerald, JJ.

Hwa Young Shin, Carrollton, Ohio, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Hwa Young Shin was admitted to practice by this Court in 2007. Shin has applied to this Court, by affidavit sworn to May 7, 2021, for leave to resign from the New York bar for nondisciplinary reasons (see Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) opposes the application, contending that Shin is ineligible for nondisciplinary resignation because she has failed to fulfill her attorney registration requirements for the most recent biennial period beginning in 2021 (see Judiciary Law § 468-a; Matter of Lee, 148 AD3d 1350 [2017]; Matter of Bomba, 146 AD3d 1226, 1226-1227 [2017]; Rules of the Chief Admin of Cts [22 NYCRR] § 118.1). Further, AGC opposes the application on the basis that Shin omitted a material response in her submission and, therefore, her application to resign was not in the proper form prescribed by Rules for Attorney Disciplinary Matters (22 NYCRR) § 1240.22 (a) (1) (see Matter of Quinn, 171 AD3d 1390, 1391 [2019]; Rules for Attorney Disciplinary Matters [22 NYCRR] part 1240, appendix E).
In reply to AGC's opposition, however, Shin has submitted a supplemental affidavit, sworn to September 2, 2021, in which she corrects the irregularities in her prior submission and further attests that she is now current in her New York attorney registration requirements. To this end, Office of Court Administration records likewise establish that Shin has duly registered and cured any preexisting registration delinquency. Accordingly, with AGC voicing no other substantive objection to her application, and having determined that Shin is now eligible to resign for nondisciplinary reasons (compare Matter of Tierney, 148 AD3d 1457, 1458 [2017]; Matter of Bomba, 146 AD3d at 1227), we grant the application and accept her resignation.
Garry, P.J., Egan Jr., Clark, Pritzker and Reynolds Fitzgerald, JJ., concur.
ORDERED that Hwa Young Shin's application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further
ORDERED that Hwa Young Shin's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Hwa Young Shin is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Shin is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Hwa Young Shin shall, within 30 days of the [*2]date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.








